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USA
        Plaintiff,

v.                                                 Case Number 2:20-cr-62-1, 2
                                                   Judge Sarah D. Morrison
Steven G. Rosser
Whitney R. Lancaster,
      Defendants.

                                 Jury Trial Day 3
                          Wednesday, February 16, 2022
                         before Judge Sarah D. Morrison

For Plaintiff: Kevin Kelley/Noah Litton
For Defendants: Robert Krapenc/David Thomas/Kathryn Wallrabenstein
Court Reporter: Allison Kimmel
Courtroom Deputy: Denise Shane

        9:03 am Jury Trial Day 3, Mr. Litton Kelley calls Robert Martin, 515.1
        9:10 am Cross of Martin by Mr. Krapenc
        9:16 am Redirect of Martin by Mr. Litton
        9:17 am Mr. Kelley calls Sasha Grieco, Gov Ex 110
        9:28 am Cross of Grieco by Mr. Krapenc Gov Ex 509.1 Def Ex SR-3
        9:52 am Redirect of Grieco by Kelley
        9:53 am Mr. Kelley call Elisabeth Beine, Gov Ex 118, 117
        10:17 am Cross of Beine by Mr. Krapenc, SR-4, Gov Ex 118
        11:02 am Redirect of of Beine by Kelley
        11:05 am Mr. Litton call Ron Lemmon, 524.2, (admitted), 114 (pg (3 of 5 admitted)
        11:50 pm Cross of Lemmon by Mr. Krapenc
        12:02 pm Lunch
        1:15 pm Continued Cross of Lemmon by Krapenc, SR-5,
        1:49 pm Redirect of Lemmon by Litton
        1:51 pm Direct of Amy Pache by Mr. Kelley
        1:57 pm Cross of Pache by Ms. Wellrabenstein
        1:59 pm Mr. Kelley calls Logan Ramsier, Gov Ex 208,
        2:15 pm Cross of Ramsier by Krapenc, SR-6
        2:23 pm Direct by Mr. Litton of Howard Robbins, 523.1, 208,
        2:35 pm Cross of Robbins by Mr. Krapenc
        2:41 pm Mr. Kelley calls Armen Stepanian
        3:35 pm Cross of Stepanian by Mr. Krapenc, 1628-1648 audio, SR-8
        4:00 pm Redirect of Stepanian by Kelley
        4:04 pm Direct of Brian Thatcher by Mr. Kelley
        4:15 pm Cross of Thatcher by Krappenc
        4:30 pm Direct by Mr. Litton of Anthony Cox
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   4:39pm Cross of Cox by Mr. Krapenc
   4:45 pm Court adjourned.
